Case 2:19-cv-09330-CBM-AS Document 78 Filed 01/06/21 Page 1 of 2 Page ID #:1016




   1
   2
   3
   4
   5
   6
   7
   8                      UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11    MOSSACK FONSECA AND CO., S.A., ) Case No. 2:19-cv-09330-CBM-ASx
       et al.,                        )
 12                                   ) ORDER GRANTING
                                      ) STIPULATION TO CONTINUE
 13                Plaintiffs,        ) DEADLINE TO FILE MOTIONS
                                      ) FOR ATTORNEYS’ FEES IN
 14            vs.                    ) CONNECTION WITH:
                                      )
 15                                   ) (1) DEFENDANT’S SPECIAL
                                        MOTION      TO STRIKE
       NETFLIX, INC.,                 ) PLAINTIFFS’      SECOND AMENDED
 16                                   ) COMPLAINT UNDER           THE
                                      ) CALIFORNIA ANTI-SLAPP
 17                Defendant.         ) STATUTE [DOCKET NO. 59]; and
                                      )
 18                                   ) (2) DEFENDANT’S MOTION FOR
                                      ) JUDGMENT ON THE PLEADINGS
 19                                   ) [DOCKET NO. 60] [77]
                                      )
 20                                   )
                                      ) [Stipulation and Declaration of Michael
 21                                   ) J. Niborski filed concurrently herewith]
                                      )
 22                                   )
                                      )
 23
 24
 25
 26
 27
 28
Case 2:19-cv-09330-CBM-AS Document 78 Filed 01/06/21 Page 2 of 2 Page ID #:1017




   1                                            ORDER
   2         WHEREAS good cause is shown, IT IS HEREBY ORDERED that, based on the
   3   concurrently filed Stipulation of the parties thereto, as follows:
   4         1.     The deadline to file a motion for attorneys’ fees in connection with
   5   Defendant’s Special Motion to Strike Plaintiffs’ Second Amended Complaint Under
   6   the California Anti-SLAPP Statute [Docket No. 59] (the “Anti-SLAPP Motion”), shall
   7   be continued until January 27, 2021.
   8         2.     The deadline to file a motion for attorneys’ fees in connection with
   9   Defendant’s Motion for Judgment on the Pleadings [Docket No. 60] (the “MJOP”),
 10    shall be continued until February 1, 2021.
 11
 12    IT IS SO ORDERED.
 13
 14
 15    Dated: JANUARY 6, 2021                By:    _______________________________
 16                                                    Judge Consuelo B. Marshall
                                                       United States District Judge
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
